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           EXHIBIT 22
1/11/2021   Case 1:20-cv-01228-CFC Document 25-22
                                              Division Filed  01/20/21
                                                       of Corporations - Filing Page 2 of 2 PageID #: 1437
 Delaware.gov                                                                                             Governor | General Assembly | Courts | Elected Officials | State Agencies




  Department of State: Division of Corporations
                                                                                                                                                                    Allowable Characters

  HOME
                                                                                                                     Entity Details


                                                                                               THIS IS NOT A STATEMENT OF GOOD STANDING

                                                                                                              Incorporation Date /     2/5/1990
                                                           File Number:                 2221167
                                                                                                                  Formation Date:      (mm/dd/yyyy)

                                                           Entity Name:                 XILINX, INC.

                                                           Entity Kind:                 Corporation                   Entity Type:     General

                                                           Residency:                   Domestic                              State:   DELAWARE


                                                           REGISTERED AGENT INFORMATION


                                                           Name:                        THE CORPORATION TRUST COMPANY

                                                           Address:                     CORPORATION TRUST CENTER 1209 ORANGE ST

                                                           City:                        WILMINGTON                          County:    New Castle

                                                           State:                       DE                           Postal Code:      19801

                                                           Phone:                       302-658-7581


                                                           Additional Information is available for a fee. You can retrieve Status for a fee of $10.00 or
                                                           more detailed information including current franchise tax assessment, current filing history
                                                           and more for a fee of $20.00.
                                                           Would you like     Status      Status,Tax & History Information

                                                            Submit


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